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Exhibit C
Case: 2:11-cr-00010-GCS-EPD Doc #: 184-4 Filed: 09/26/14 Page: 2 of 6 PAGEID #: 2718

 

SUMMONS TO PI ODUCE DOCKET Trial Court of Massachusetts
RECORDS NO.BRCR2009-00457 Superior Court Department
(Pursuant to Commonwealth VS County of Bristol

Dwyer, 448 Mass.:122 (2006))

see
” ve

 

 

 

Case Name-.- .- -
Commonwealth vs, Sean Murphy

To: © UHAUL'Storage
292 Lyniway
Lyrin: MA 01902

 

GREETINGS: ;

{

YOU ARE HEREBY ORDERED to produce the records described in the attached
ORDER of the gout in the case of Commonwealth vs. Murphy, Sean, docket #
BRCR2009-00457. The records shall be delivered to the Superior Court Clerk's
Office located in the Bristol County Superior Court,186 South Main Street, Fall
River, MA 02721, on or before 02/06/2013 at 2 P.M.

The records|to be produced are all records for the time period January 23,
2009-February 8, 2009, relating to the rental and use of the bins indicated within
the "Target Zone" as appears on the sketch attached hereto as Appendix C.
Such records are to include but not be limited to rental agreements, access
logs, video surveillance records and correspondence.

ALL RECORDS SHALL BE PRODUCED IN ACCORDANCE WITH THE

ATTACHED "NOTICE ACCOMPANYING COURT-ORDERED SUMMONS" AND
DELIVERED TO;THE ABOVE ADDRESS TO THE ATTENTION OF Marc J.
Santos, Esq., (he

FAILURE TO COMPLY WITH THIS SUMMONS may be deemed a contempt of
court.
: | Dated at Fall River, Massachusetts this 14th day of January, 2013

 

 

  

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Assistant Gle

 

Summonsed by:
Marc J. Santos, Esq. Clerk/Magistrate
Bristol Superior Cour
186 South Main Strect

tn ol

Fall River, MA 02721:
(508) 996-2051

 

 

 

 
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g. webselfstorage

Rental Detail Room/Payment History

 

Moved Out Rental Detail

 

Help

Notes Letters

Balance Due: $0.00 Account Type: INDIVIDUAL Contract No: 837064-00000772  &
Customer - Documents View Customer History
GEORGE BOGART 47 MAPLE ST LYNN, MA 01904
H: (781)853-3493 W: (781)593-8473 Email History
Contact / Access Users
| JOHN STINSON 66 BROAD ST (617)593-6387 Alternate Contact
Rooms
Room Size Aulopay Bal Due Moved In Moved Out Invoice Billing Rate
90 8X8X6 NO $234.90 1/23/2009 5/9/2009 NO $84.95
Last 3 Payments Notes
| E] 5/9/2009 CASH $0.00 5/9/2009 09:36:30 AM (FERNANDO PALOMARES)837064 - Room 90
1/23/2009 CASH ($10.10) has been moved out,

] 1/23/2009 CASH $180.00 #

5/6/2009 11:14:51 AM (VERA MILLER)837008 - left voice mail at home

5/4/2009 10:51:14 AM (TAMICA HARRIS)837064 - left a message
4/23/2009 06:59:59 PM (TAMICA HARRIS)837 064 - left message
4/13/2009 05:34:59 PM (FERNANDO .....

 

 
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U-HAUL CTR LYNNWAY
282 LYNNWAY RTE 1A
LYNN, MA 01901
Phone :(781)593-5455
fernando palomares
UHAUL SELF STORAGE RENTAL AGREEMENT(Anniversary Due Date)
Customer Name : GEORGE BOGART
Address : 47 MAPLE ST
LYNN, MA 01904
Home Phone :(781)853-3493
Work Phone:  (781)593-8473
Driver's License #: ST EXP
E-Mail:

—— U-Haul acknowledges that your Email addross Is highly centidential. Ths highly confidential tnformation will bo treated with the utmost respect. Wo do not provide, supply, salt or othorwise
distribute your personal information, including emall address, to any third party.

-X_ |, GEORGE BOGART, have no e-mail address and indemnify U-Haul for tallure to contact me via e-mall.
HELP US NEVER LOSE CONTACT WITH YOU IN CASE OF FIRE, FLOOD, BURGLARY OR SREAK-IN

Emergency Alternate Contact (Must be completed. Gosignate a persen residing at a permanent addsoss other than your own.
Alternate Contact Name Address Phone #

 

JOHN STINSON 66 BROAD ST LYNN, MA 01902 {617)593-6387

ONLY THE CUSTOMER AND AUTHORIZED ACCESS PERSONS WILL BE ALLOWEO TO THE ROOM UNDER THIS AGREEMENT. UHAUL MUST BE NOTIFIED IN WAITING OA VIA THE PREMIER
CUSTOMER CLUB OF ANY CHANGES OF AUTHORIZED PERSONS, ACORESS, TELEPHONE, OR LOST OR STOLEN CARDS.

Credit Card / RECURRING ACH Payment Plan: CASH °****ss**
Ihave authorized U-Haul to automatically debit my bank account er charge my credit card as applicable every month fer all charges associated with my sterage room. (Casdhotder agrees to natily U-Haul of any
changes to the banking or crecit card Informalon (account number and expiration date)

X Authorized Signature:

 

CAUTION:

Failure to pay rent on due date will result in:
$15 late-fee charged. Denied access to your reom. $50 inventory and llen processing fee. Assessment of a llen and sales of stored goods.

CONTRACT DETAIL:
Room Size :8X8X6 Monthly Due Date ; Mar 232009 ‘Total due Monthly :$84.95

 

Account Summary - Room #: 90

ttem Amount
Monthly Rent : $84.95 Rent $84.95
Date Of Last Payment : Jan 23 2009 —Discounts $0.00
Amount Of Last Payment : $169.90 Fees $0.00
Payment Due Date : Mar 23 2009 Insurance $0.00
Rent Paid-Thru Date : Mar 22 2009 ~— Services $0.00
Contract Credit : ($0.00) Taxes $0.00

Current Balance $0.00

“) .

X Customer Signature: : Date: Jan 23 2009.

 
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INSURANCE REQUIREMENT

‘otectl 0 ‘ope ‘orage Is you onsibill

Option One cme recommended ehotea)

| acknowledge that while U-Haul and this facility take certain precautions to provide clean, dry and secure storage rooms, | acknowledge and agree that U-Haul
and this facility do not insure my properly, nor do thay have the responsibility 10 provide insurance for my property. Furthermore | agree that U-Haul and this
facility are not responsible for any damage or loss that may occur to my property while in storage. | understand that it is a requirement of U-Haul and this
facility that | maintain insurance covering my goods for as tong as they are in storage at this facility. | have elected to meet this requirement in the following

manner:

—_Purchase Low Cost Insurance NOW in the amount of $0.00 Per Month

Option Two

——! have contacted my Insurance agent and t have confirmed that | have insurance coverage for my property while in storage at this facilily through either my
homeowner's policy or renter's policy, and am aware of my policy's deductible. | have attached a copy of my insurance company’s declarations page as proof
of coverage. U-Haul makes no representations concerning whether a homeowner's or renter’s policy covers goods while in storage. | agree that for the
duration that my property is in storage at this storage facility, | will maintain my homeowner's or renter’s policy in full force and effect. Furlhermore, if at
anytime my homeowner's or renter's policy is terminated or modified so that my property does not have insurance coverage, I, therefore agree to notify the
storage facility and hold harmiess for, and release from them, any loss or damage that occurs to my goods while in storage.

INSURANCE COMPANY NAME: .
Agent's Name:

Agent's Phone#:

Option Three

—X_{ request that the insurance requirement to maintain insurance for my goods while in storage be waived. | acknowledge and understand that this waiver of
the insurance requirement places me in the position of a self insurer. | acknowledge and understand that this waiver places no burden, responsibility or lability
upon the storage facility. | acknowledge and understand that the storage facility does not insure my goods, and has no responsibility to provide insurance. |
acknowledge and agree that loss or damage that occurs to my goeds while in storage is fully at my expense. Customer bears entire risk of loss or damage
resulting from the negligence of UHautl.

Type of goods stored:boxes
APPROXIMATE CASH VALUE OF GOODS (custono’s esimaoy$1000.00.

| understand that it is a requirement of this storage facility that | maintain insurance covering my goods for as tong as they are in storage. { have elected to
meet this requirement via the manner Indicated above,

)

XCustomer Signature : Date:Jan 23 2009 .

 

 
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ATTENTION
This is a month-to-month lease. The term of this tenancy shall commence on the rental agreement date written, and shall continue thereafter on a monthly basis. Rent is
payable in advance of the rental agreement date specified. U-Haul is not a ballee of customer's property. U-Haul does not accept control, custedy or responsibility for
the care of property. Customer shail notify U-Haul immediately, in writing, of address or telephone changes. Customers must provide their own diskus style lock (only one

prior written notice to customer. Itis your responsibility to pay on or before the due date. Free salf-addressed payment envelopes may be provided for mailing rental
payments. U-Haul has the right to establish or change hours of operation or to preciaim rules and amendments, or additional rules and regulations for tha safety, care and
cleantiness of the premises or the preservation of geod order al ihe facility. Customer agrees to follow all of the U-Haul rules currently in effect, or that may be put into effect
from time to time. Customer's access to the premises may be conditioned in any manner deemed reasonably necessary by U-Haul to maintain order on the premises. Such
measures may include, but are not limited to, requiring verification of customer's identity, limiting hours ot operaiton and requising customer to sign in and sign out upon
entering and leaving the premises. Customer Underslands all sizes are approximate. uTION

tf rent is not paid on or before the due date, a $15 late charge Is due. A $50 Inventory and flen processing feo plus all expenses associated with the sale will also
be charged when the rent Is 45 days late. The customer shall bear all risks of loss or damage to any and all property stored in the rental Space, Including, but not
limited to, loss or damage resulting from the negligence of U-Haul. U-Haul fs hereby given a contractual landlord's Ilan upon all property stored by the customer
to secure payment of all monies due under this agreemant, including any fees and costs. The llen exists and will be enforceable from the date rent or other
charges are due and unpeld, The property shall be deemed to be attached from the first day of this agreement. The property stored In the leased space may be
sold to salisfy the Iten if customer remains In default for 30 days or more. Written notice will be sent to the customer during the default pericd. Proceeds from the sale
will be distributed first to satisfy all tens. The remainder, if any, will be held for the customer far six months, then the funds will be transferred to the appropriate state
authority. This tien and all rights granted are in addition to any lien or rights granted by the statutes of the state. In addition to the rents and charges agreed upon and
provided for in this rental agreement, customer shall be llable for all costs, fees and expenses, including attorney's fees, reasonably incurred, incident to defaull, present or
future, for the preservation, storage, inventory, advertisement and sate of the property stored in the rental space, or other disposition, and to enforce the tights provided for
under this rental agreement. U-Haul shall be entilled to attorney fees and costs incurred in enforcing Its rights under this agreement. Upon default of any obligation under this
rental agreement, customer and all authorized individuals shail be denied access to the property contained in the rental space until such time that the default has been

contents of the rental space during the default pericd. A minimum $10 cleaning {ee will be assessed If the space is dirty or in need of repair at contract termination. Customer
can use dumpster only after paying appropriate Dumpster fae. Customers are never to use dumpsters for disposal of hazardous or toxle materials, or wastes (e.g., palnts,
chemicals, flammables, etc.}, off-site refuse or llems such as couches, mattresses, etc. ING

ARN
Customer shall have access to the rental space only for the purpose of storing and removing property stored in that rental space. The rental space shail not be used for
residential purposes or eperation of a business. Customer agrees notto store any hazardous materials, hazardous substance, hazardous waste, solid waste, toxic chemicals,
illegal goods, explosives, highly flammable materials, perishable foods or any other goods which may cause danger or damage to the rental space. Customer agrees nol to
store any living creature or organism, or any dead animal or other carcass. Customer agrees that personal property and renta! space shail not be used for any unlawful
purpose. Customer agrees not to store property with a total vatue in excess of $15,000. Customer agrees not to leave waste, not to alter or affix signs on the rental space and
agrees to keep the rental space in good condition during the term of the rental agreement. U-Haut property, such as funiture pads or storage carts, shall not be placed or

- locked in the rental space. Customer agrees not to store collectibies, helrlooms, jewelry, works of art or any other Item of sentimental value. Customer Signature:

Date: Jan 23 2009

LOW COST INSURANCE PROTECTION TERMS AND CONDITIONS:
Insurance protection is only effective for customers who have elected Insurance protection on ihe reverse side of this form, and paid the appropriate Insurance
fee: Valuation of Loss: Loss is adjusted at actual cash value. There is a $100 deductible for each loss occurrence and property is covered only while wilhin the
U-Haul storage room. If a customer rents more than one room, Insurance must ba purchased separately for each room the customer wishes to
protect. Exclusions: There is no protection for: (1) loss or damage to bills, currency, securities, notes, deeds, furs, antiques, jewelry, artwork, precious metals
or stones, vehicles or contraband; (2) loss resulting from theft, except burglary’ evidenced by visible signs of forced entry; (3) loss resulling from mysterious
disappearance, Intentional or criminal acts; (4) damage resulting from flood, tidal waters, groundwater or any subsurface water including sewers and drains; (5)
damage resulting from nuclear explosion or contamination, war or civil Insurrection, natural deterioration, vermin, insect infestation, wear and tear or
atmospheric change.*Burglary coverage is limited to 50% of the coverage amount unless replacement cost insurance option was selected. Protection Period:
Insurance fees must be paid in advance for the same number of months for which you make storage-rent payments. Nonpayment or breach of rental
agreement automatically terminates this protection. Protection Is underwritten by Republic Western Insurance Company. REPORT CLAIMS TO: Republic
Western Insurance Company P.O. Box 21748 Phoenix, AZ 85036-1748. Phone 1-800-528-7134

 

 
